
957 So.2d 1214 (2007)
Lorenzo TATUM, Appellant,
v.
The STATE of Florida, Appellee.
No. 3D05-2816.
District Court of Appeal of Florida, Third District.
April 25, 2007.
Lorenzo Tatum, in proper person.
Bill McCollum, Attorney General, and Juliet S. Fattel, Assistant Attorney General, for appellee.
Before GERSTEN, FLETCHER, and SUAREZ, JJ.
PER CURIAM.
This is an appeal of an order summarily denying a motion under Florida Rule of Criminal Procedure 3.800. On appeal from a summary denial, this court must reverse unless the post-conviction record shows conclusively that the appellant is not entitled to relief. See Fla. R.App. P. 9.141 (b)(2)(A), (D).
Because the record now before us fails to make the required showing, we reverse the order and remand for further proceedings. If the trial court again enters an order summarily denying the post-conviction motion, the court shall attach record excerpts conclusively showing that the appellant is not entitled to relief.
*1215 Reversed and remanded for further proceedings.
